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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS

ZEST LABS, INC. F/K/A INTELLEFLEX
CORPORATION AND ECOARK HOLDINGS, INC.                                              PLAINTIFFS

v.                               CASE NO. 4:18-CV-00500-JM

WALMART INC. F/K/A WAL-MART STORES, INC.                                          DEFENDANT

          MOTION OF WALMART INC. F/K/A WAL-MART STORES, INC.
                FOR EXTENSION OF TIME TO FILE RESPONSE
     TO PLAINTIFFS’ MOTION FOR LEAVE TO FILE COMPLAINT UNDER SEAL

        Defendant Walmart Inc. f/k/a Wal-Mart Stores, Inc. (“Walmart”), for its Motion for

Extension of Time to File Response to Plaintiffs’ Motion for Leave to File Complaint Under Seal,

respectfully states:

        1.      On August 1, 2018, Plaintiffs filed their Motion for Leave to File Complaint Under

Seal and to Establish Briefing Schedule Relating to Potentially Confidential Information in

Complaint.

        2.      On August 1, 2018, this Court entered an order requiring Walmart to respond to the

motion within ten (10) days of service. (ECF 8.) As that date falls on Saturday, August 11,

Walmart’s response is due on August 13, 2018.

        3.      Undersigned counsel has recently been retained by Walmart in this matter. Counsel

requires additional time to confer with Walmart to determine whether the information redacted

from the publicly-available version of the Complaint should remain confidential or whether the

Complaint can be unsealed.

        4.      Walmart therefore requests an additional fourteen (14) days, through and including

August 27, 2018, to respond to the Motion for Leave to File Complaint Under Seal.




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       WHEREFORE, for the foregoing reasons, Defendant Walmart Inc. f/k/a Wal-Mart Stores,

Inc. respectfully requests that this Court extend its time to respond to Plaintiffs’ Motion for Leave

to File Complaint Under Seal through and including August 27, 2018.

                                              QUATTLEBAUM, GROOMS & TULL PLLC
                                              111 Center Street, Suite 1900
                                              Little Rock, Arkansas 72201
                                              Telephone: (501) 379-1700
                                              Facsimile: (501) 379-1701
                                              jtull@qgtlaw.com
                                              cpekron@qgtlaw.com

                                              By: /s/ John E. Tull III
                                                 John E. Tull III (84150)
                                                 Chad W. Pekron (2008144)

                                              Attorneys for Defendant Walmart Inc. f/k/a Wal-
                                              Mart Stores, Inc.




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                                 CERTIFICATE OF SERVICE

        I certify that on this 13th day of August 2018, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to all counsel
of record.

                                                      /s/ John E. Tull III
                                                      John E. Tull III




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